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                                     UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF PUERTO RICO



FRANCISCO ALMEIDA-LEÓN, WANDA CRUZ
QUILES, La Sociedad Legal de Gananciales entre                  CIVIL ACTION NO. 16-1394 (JAW)
ellos, y JUAN ALMEIDA LEON

Plaintiffs                                                      RE STATE COURT ACTION CASE
                                                                NO. KAC2016-0027 (806)
    v.                                                          BREACH OF CONTRACT; DAMAGES;
                                                                LITIGIOUS CREDIT
WM Capital Management, Inc.; Juan del Pueblo,
Inc., John Doe, y Fulano de Tal, BM Capital de Tal
y Otros

Defendants

   REPLY IN SUPPORT OF REQUEST FOR SANCTIONS AND OTHER REMEDIES
AGAINST THE ALMEIDA PLAINTIFFS AND THEIR ATTORNEYS FILED AT ECF NO. 515
                       – AND REQUESTING ORDER

TO THE HONORABLE COURT:

          COMES NOW, WM Capital Management, Inc. (“WM”) by and through its undersigned

counsels, and respectfully files this reply in support of its request for sanctions and makes a

request for an order against the Almeida Plaintiffs1 and their attorneys:

             I.   The Response to the Request for Coercive and Punitive Sanctions.

         On September 23, 2021, WM filed a motion requesting coercive and punitive sanctions

against the Almeida Plaintiffs and their attorneys for violating the TRO.2 There it requested

coercive and punitive sanctions against the Almeida Plaintiffs and their attorneys.


1 The Almeida Plaintiffs are Juan Almeida, Francisco Almeida, his wife Wanda Cruz and their conjugal
partnership as well as their company Tenerife Real Estate Holdings, LLC. Their attorneys are those in the
record.
2 Request for Coercive and Punitive Sanctions Against the Almeida Plaintiffs and their Attorneys for Violating the

TRO. ECF No. 515.
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        The coercive sanctions sought were to induce the Almeida Plaintiffs and their attorneys to

withdraw a motion that they filed with the GMAC Court in violation of the TRO3 - translated at

ECF No. 520-1. WM also sought punitive sanctions against the Almeida Plaintiffs and their

attorneys in the form of attorney’s fees and in the form of a penalty commensurate with their

defiance and disrespect to this Court’s authority and dignity. This, because of the long list of acts of

defiance and their refusal to abide by this Court’s orders – namely, their insistence on relitigating

the same issues decided by this Court in other fora and generally impeding the enforcement of the

Judgment in this case. See discussion at ECF No. 515 at 3-10.

        The same day that WM sought the aforesaid sanctions, the Almeida Plaintiffs presented

their response in the form of a Motion Informing Compliance with Pre TRO Order Never Annulled

(“Response”). This motion does not address the long list of acts of defiance and their refusal to

abide by this Court’s orders – or the content of their motion in opposition to the reconsideration

filed by WM. In short, they do not respond to the bases for the request for punitive sanctions.

The Response does, however, attempt to excuse the act of filing of the motion - in relitigating

the issues decided by this Court (or under its consideration) in violation of the TRO.

        The Response suggests that the Almeida Plaintiffs and their attorneys had no choice but to

respond to WM Capital’s pending motion for reconsideration with the GMAC Court. This,

because they had been ordered to respond by the GMAC Court prior to the issuance of the TRO

(through order dated September 7, 2021). ECF No. 517. This is an excuse not grounded in

reality.




3   Case pending before the Superior Court of San Juan, No. KCD 2009-0708.

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      The Almeida Plaintiffs and their attorneys could have requested that the GMAC Court

take notice that they would not respond due to the TRO issued by this Court on September 15,

2021 - pending this Court’s final determination. Instead, they took the opportunity to explain in

irrational detail why the GMAC Court should disregard the TRO and why it was supposedly so

fundamentally wrong.


      Now the TRO of the Federal Court (dockets 509 and 510) intends to order this
      Honorable Court to disregard the mandate of the Court of Appeals and the
      Supreme Court of Puerto Rico, without any grounds, and without declaring any
      matter unconstitutional or illegal. WMC’s jurisdictional transgression of its counsel
      and the Federal Court itself violates the most basic precepts of respect, courtesy,
      constitutional function, and consideration that regulate the recognition by the
      federal courts of the laws and judicial decisions of the states and Puerto Rico.

ECF No. 520 at 17.


      Therefore, it is an unquestionable fact that the Federal Court cannot validly sentence
      or order that the judgment of November 7, 2011, be executed in any other way than
      in accordance with its terms. An inescapable consequence is that the Federal Court
      lacks jurisdiction to issue the TRO it has issued, which this court already decided on
      August 16, 2021.

ECF No. 520 at 24.


      Now they argue that they have imposed TRO on this Honorable Court to order it to
      break the law, act against public order, flout its own judgments and the mandates of
      Puerto Rico’s appellate courts, and ignore the demanded function of exequatur. The
      purported result of this is the abdication by this Honorable Court of its
      constitutional function and allowing the Federal Court to rule to this Court how to
      handle its courtroom, how to discipline lawyers, and how to decide disputes that
      are presented to this Court.

ECF No 520 at 32.

      In short, the motion they filed encouraged the GMAC Court to defy this Court’s TRO and

encourage it to decide this Court’s jurisdiction.

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      What would have been proper was for the Almeida Plaintiffs to withdraw the opposition

to the reconsideration, acknowledging this Court’s authority and jurisdiction with a pledge that

they would strictly abide by its TRO and by its rulings – as sought by WM in its motion seeking

sanctions. Nevertheless, the Response merely pledges to seek a stay of the GMAC case (the case

was stayed by the GMAC Court on September 29, 2021).4

      Thus, the Almeida Plaintiffs and their attorneys half-heartedly - and after forcing WM to

alert this Court of their violation to the TRO - attempted to paper over their acts of defiance. The

fact remains that the motion in opposition to the reconsideration that they filed with the GMAC

Court should be withdrawn, and they must pledge to cooperate and abide by the TRO and this

Court’s decrees. If they do not comply, they should be coerced into compliance.

      Finally, it is an uncontested fact that the Almeida Plaintiffs and their attorneys defied this

Court’s orders and simply refused to abide by its final, firm and unappealable judgment.

Moreover, they violated several decrees from this Court ordering the Almeida Plaintiffs to stop

relitigating the issues decided by this Court. See discussion of this issue at ECF No. 515 at 3-10.

Accordingly, joint and several punitive sanctions against the Almeida Plaintiffs and their

attorneys are warranted.

         II.    Order to the Almeida Plaintiffs and their attorneys.




4 What follows is our translation of the recent order from the GMAC Court: [Upon the filing of the answer
to the motion for reconsideration filed by Tenerife] “The order is deemed complied with and the
resolution of the request for reconsideration [by WM] is stayed until it becomes due and/or another thing
is decided about the TRO notified to this Court, whatever occurs first.” Since the Almeida Plaintiffs and
their attorneys failed to inform the GMAC Court that the TRO was extended via order – on September 27,
2021, WM notified the GMAC Court of said fact via motion.


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      WM respectfully requests an order to the Almeida Plaintiffs and their attorneys whereby

they clarify their involvement in the drafting of the August 16, 2021 order (“GMAC Order”)

attempting to reverse this Court’s Final Judgment. If indeed, said order was drafted by the

Almeida Plaintiffs and their attorneys after this Court had expressly ordered them to cease and

desist from relitigating in the GMAC Court – the punitive sanctions that this Court is evaluating

should be even more severe.5

      The language of the GMAC Order is eerily familiar – the disorganization of ideas, the lack

of sound legal argument, and the language used give-away their authors.

      WMC has not enlightened this Court as to any existing doctrine, or legal principle,
      whereby the Court with Exclusive Primary In Rem Jurisdiction must abstain so that
      another Court, lacking In Rem jurisdiction, can act with respect to the thing under
      the exclusive primary In Rem jurisdiction of another Court.

ECF No. 498-1 at 6. Moreover, the passionate defense of the Almeida Plaintiffs – even

before the order to show cause issued by this Court - as well as the point of view utilized

(almost first-person narrative) speaks clearly as to who penned the GMAC Order.

      Even more disturbing is that the Federal Court has ordered Tenerife Real Estate
      Holdings, LLC, and the other plaintiffs therein, to show cause why they should not
      be found in contempt and impose heavy economic sanctions on the parties and their
      counsel, depriving them, outright, of all of their ownership rights to the various
      mortgages by order of said Federal Court, when the same Federal Judgment decrees
      that Tenerife is the sole owner of the Judgment in this case. The Federal Court


5 It is black letter law that Superior Court judges in Puerto Rico can request and obtain drafts orders or
resolutions from the parties in a case. The judges in the local jurisdiction are then supposed to use their
independent judgment to reach a balanced decision in the cases before them. As the Supreme Court of
P.R. stated in Román Cruz v. Díaz Rifas, 113 D.P.R. 500, 508 (1982): “the trial court's practice of asking the
parties to submit drafts of judgments is not, per se, a bad practice.” What is highly improper is “‘blindly
signing’ said judgment drafts.” (Underscore in the original.) Baez Garcia v. Cooper Labs., Inc., 120 D.P.R.
145; 20 P.R. Offic. Trans. 153, 166 (1987). Nevertheless, to be clear, WM is not requesting that this Court
make any determination on the acts of the Hon. judge Raúl Candelario when issuing the GMAC
Resolution. It is merely requesting that the conduct of the Almeida Plaintiffs and their attorneys be
reviewed with exacting detail when evaluating WM’s request for punitive sanctions.

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      requires Tenerife and the plaintiffs therein, to stipulate following a process of
      foreclosure that is contrary to the Judgment in this case of November 7, 2011, it is
      contrary to the foreclosure process mandated by the Mortgage Act, to change and
      eliminate the minimum price stipulated for the first auction, all with the actual effect
      of nullifying the Judgment in this case, which the Federal Court itself decreed WMC
      cannot demand nor is entitled (docket #288 in said Federal Case). ECF No. 498-1 at 4.

      The GMAC Order even attempts to shield the Almeida Plaintiffs’ attorneys from the

language of the orders to show cause issued by this Court - when describing their work as

“gibberish” and lacking in legal analysis. In imposing sanctions against WM, their

representative and their attorneys, the GMAC Court lists as the offensive conduct:

      f) instigating the use of foul and offensive language adopted by the Federal Court
      such as that contained in the three orders to show cause (dockets 462, 463, and 464
      unrelated to the required conduct). ECF No. 498-1 at 35.6

      Finally, the GMAC Order even repeats the same false statements made by the Almeida

Plaintiffs and their attorneys without filter.

      The Federal Court reported and stated that it does not understand the rigorous
      process of public auction and minimum auction price to foreclose and that it is part
      of the due process of law.

ECF No. 498-1 at 26-27.

      The GMAC Order was drafted in -at least- significant part by the Almeida Plaintiffs and

their attorneys. WM requests that when evaluating its request for punitive sanctions, this Court

review the circumstances surrounding the issuance of the GMAC Order.

      What follows is a list of the circumstances alluded to: This Court issued an order to show

cause to the Almeida Plaintiffs as to why they should not be held in contempt on June 25, 2021.

There, they were told to stop their collateral litigation in the GMAC Court. ECF No. 464.

6This is highly unusual, in the decades of experience in the legal practice before the Courts of Puerto
Rico, never have the undersigned attorneys seen a decree such as this issue from the bench of the
Superior Court.

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Nevertheless, they filed their motion requesting that the GMAC Court issue an injunction

against this Court, WM and its representatives on July 9, 2021. ECF No. 470-1. The Almeida

Plaintiffs and their attorneys were held in contempt on August 12, 2021. ECF No. 477. That

same day they rushed to the GMAC Court requesting that it issue the injunction against this

Court. ECF No. 482-1. The GMAC Order was issued four days later. ECF No. 498-1.

     It seems very likely that at some point during this timetable, the Almeida Plaintiffs and

their attorneys transmitted a draft of the GMAC Order to the Superior Court. If that

transmission occurred after they were ordered to stop their relitigation in the GMAC Court they

should be held accountable for their contempt.

     Accordingly, WM requests that this Court issue an order to the Almeida Plaintiffs and

their attorneys to produce within a peremptory period any and all of their communications to

the Superior Court – directly or via agents or third parties – including those transmitting the

draft of the GMAC Order (including the draft(s)) and with a sworn statement by their attorneys

certifying the fullness and completeness of their production and that they have not engaged in

any spoliation of evidence.


     WHEREFORE, WM hereby requests that this Court issue joint and several coercive and

punitive sanctions against the Almeida Plaintiffs and their attorneys - $10,000 for each day that

they refuse to withdraw their motion opposing the motion for reconsideration filed by WM –

while making clear to the GMAC Court that they will abide by this Court’s TRO and Final

Judgment, and issue punitive sanctions commensurate with their defiance and contempt, plus

imposing the attorneys’ fees spent by WM in filing the TRO and defending it. Also, WM



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requests that this Court consider any other remedies that in light of the current circumstances

are warranted – including initiating criminal contempt proceedings and/or referral for the

review of the professional conduct of their attorneys within this district. Finally, WM requests

that the Almeida Plaintiffs and their attorneys be ordered to clarify the circumstances of the

drafting of the GMAC Order as described in this motion.


       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, on this 30th day of September, 2021.

       I HEREBY CERTIFY I electronically filed the foregoing with the Clerk of the Court

using the CM/ECF system, which will send notification of such filing to the parties of record.




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